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UNITED STATES OF AMERICA poC A
re, riwep:_A/afar —
-against . ORDER

21 CR 01 (KMW)
GRANT GRANDISON,

Defendant.

 

KIMBA M. WOOD, District Judge:

The Court will hold a remote conference on Thursday, January 21, 2021, at 11:00 a.m.

Members of the press and public who wish to hear the proceedings should dial 917-933-2166 and

enter Conference ID 270152476.
SO ORDERED.

Dated: New York, New York
January 12, 2021

Mitton ve. Urry
KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE

 
